Case 21-40834-drd11           Doc 280 Filed 01/18/22 Entered 01/18/22 08:57:57          Desc
                                Main Document     Page 1 of 2
MOW 3007-1.1   (4/2021)



                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

IN RE:                                                    )
                                                          )
INTERSTATE UNDERGROUND WAREHOUSE                          )
     AND INDUSTRIAL PARK, INC.                            )      Case. No. 21-40834
                                                          )      Chapter 11
                               Debtor.                    )

                                   OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor, IPFS Corporation, in the amount of
$22,738.80, and filed on November 12, 2021. The court claim number is 19.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

   Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
   Objection in which to file a Response, if you do not want the court to eliminate or change
   your claim. The Response shall be in writing and state why the claim should be allowed as
   filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is
   filed, the Court will enter an Order sustaining the Objection to the Claim. Parties not
   represented by an attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400
   E. 9th St., Room 1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney
   must be served a copy of the Response by regular mail. If your Response is mailed, it must
   be early enough so that the court will receive it on or before 30 days after service of the
   Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒      The claim should be disallowed entirely because the Debtor has paid the premium of
financed insurance policies which is claimed of $22,738.80. The undersigned spoke with a
representative of IPFS who confirmed that the debt was paid and promised to withdraw its claim,
which has not yet been done.
Case 21-40834-drd11         Doc 280 Filed 01/18/22 Entered 01/18/22 08:57:57               Desc
                              Main Document     Page 2 of 2
MOW 3007-1.1   (4/2021)




Dated: 1/18/2022                                    KRIGEL & KRIGEL, P.C.


                                                     /s/ Erlene W. Krigel
                                                    Erlene W. Krigel, MO #29416
                                                    4520 Main St., Ste. 700
                                                    Kansas City, MO 64111
                                                    Telephone: (816) 756-5800
                                                    Fax: (816) 756-1999
                                                    Email: ekrigel@krigelandkrigel.com
                                                    ATTORNEYS FOR DEBTOR

                                CERTIFICATE OF SERVICE

I, Erlene Krigel, hereby certify that a true and correct copy of the Objection to Claim was mailed
to IPFS Corporation by first class mail this 18th day of January 2022:

IPFS Corporation
Attn: Lisa R. Chandler
30 Montgomery St., Ste. 501
Jersey, City, NJ 07302

And to all parties in interest requesting notice through the ECF Noticing System.


Dated: January 18, 2022                                     /s/ Erlene W. Krigel
                                                            Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
